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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

TYRION S. HODGES,                 )
               Plaintiff,         )                  Case No. 1:20-cv-06643
                                  )
            v.                    )                  Hon. John F. Kness
                                  )
COOK COUNTY SHERIFF THOMAS )
DART, R. PARKER, SUPT. L.         )
IRACHERA, C. ZAMFIRESCU,          )
T. RUSHER, J. HERNANDEZ,          )
J. JUDKINS, J. CRUKAJ, M.         )
SHEEHAN, E. DURAN, C. TORRES,     )
T. BEYER, N. DRACA, R. KORKUS,    )
F. RUIZOZ, M. STATLER, W. RIVERA, )
R. GARCIA, A. DUHARKIC,           )
E. VILLARREAL, E. REIERSON,       )
L. ROMAN, S. STROH, D. CONTORNO, )
J. BARAJAS, R. PASQUEL, J. PRETO, )
M. BORUS, and M. KOEDYKER,        )
                  Defendants.     )

            MOTION FOR ENTRY OF A QUALIFIED PROTECTIVE ORDER

       Defendants move the Court for entry of a Qualified Protective Order pursuant to the Health

Insurance Portability and Accountability Act of 1996, Pub. L. 104-191, 110 Stat. 1936, and 45

C.F.R. § 164.512, and in support state as follows:

       1.      Plaintiff Tyrion Hodges claims that his constitutional rights were violated and he

suffered physical injury requiring medical treatment because Defendants subjected him to cruel

and unusual punishment and unjustified force while he was incarcerated in Cook County Jail. Due

to the nature of Mr. Hodges’ claims, the parties are likely to seek discovery regarding Mr. Hodges’

medical history and treatment. This discovery is expected to include protected health information

(“PHI”) as defined by 45 C.F.R. §§ 160.103.




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       2.      HIPAA and its implementing regulations prohibit “covered entities,” including

medical care providers, from disclosing PHI in judicial proceedings other than by authorization or

qualified protective order. 45 C.F.R. § 164.512(e).

       3.      In the instant case, both Plaintiff and the Defendants will require access to medical

information that is subject to HIPAA’s disclosure regulations. A qualified protective order will

protect the legitimate interest of Plaintiff and others in the confidentiality of their PHI, as well as

the interest of covered medical care providers in complying with HIPAA’s requirements.

       4.      The proposed qualified protective order is attached hereto as Exhibit A.

       Defendant moves the Court to enter the proposed Qualified Protective Order, attached as

Exhibit A.



                                                      Respectfully submitted,


                                                      /s/ Troy S. Radunsky
                                                      Troy Radunsky (6269281)
                                                      Attorneys for Defendants
                                                      DeVore Radunsky LLC
                                                      230 W. Monroe Suite 230
                                                      Chicago, IL 60606
                                                      312-300-4484


                                 CERTIFICATE OF SERVICE

        The undersigned, an attorney, hereby certifies that on October 25, 2022, he electronically
filed the foregoing document, which will send a notice of electronic filing to all counsel of record.

                                                        /s/ Troy S. Radunsky
                                                        Troy S. Radunsky




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